
This court has considered appellant's response received October 22, 2018, to the order to show cause dated October 11, 2018.
In Donaldson v. State, 136 So. 3d 1281, 1282 (Fla. 2d DCA 2014), this court held: "Since 2012, Florida Rule of Appellate Procedure 9.420(e) has explained that the computation of time in appeals is governed by Florida Rule of Judicial Administration 2.514(b). That rule provides that the automatic five-day extension applies only when some act is required to be done after service of a document by mail, not when the act is required to be done after rendition or filing of an order, even if the rendered order is mailed to the parties. See Bouchard v. State, Dep't of Bus. Reg., 448 So. 2d 1126 (Fla. 2d DCA 1984) ; Turner v. State, 557 So. 2d 939 (Fla. 5th DCA 1990)."
Accordingly, the "five-day extension" does not apply to appellant's notice of appeal which had to be filed within 30 days after the rendition of the order disposing of the motion for rehearing. Therefore, this appeal is dismissed for lack of jurisdiction because the notice of appeal was untimely filed 34 days after rendition of the order disposing of the motion for rehearing.
SILBERMAN, VILLANTI, and CRENSHAW, JJ., Concur.
